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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     WHYTE MONKEE PRODUCTIONS LLC,                    Case No. 23-cv-03438-PCP
                                         et al.,
                                   8                      Plaintiffs,                     JUDGMENT
                                   9              v.
                                  10
                                         NETFLIX, INC.,
                                  11                      Defendant.
                                  12
Northern District of California
 United States District Court




                                  13           On November 22, 2024, the Court granted defendant’s motion to dismiss. Pursuant to

                                  14   Federal Rule of Civil Procedure 58, the Court hereby ENTERS judgment in favor of Netflix, Inc.

                                  15   and against Whyte Monkee Productions LLC and Timothy Sepi. The Clerk of Court shall close

                                  16   the file in this matter.

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                                  18           IT IS SO ORDERED.

                                  19   Dated: November 22, 2024

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                                                                                                 P. Casey Pitts
                                  22                                                             United States District Judge
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